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                             IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION


Securities & Exchange                   :
Commission                              :      Case No. 2:14-CV-00396
                                        :
Plaintiff                               :
vs.                                     :      Judge Algenon Marbley
Professional Investment                 :      Magistrate Judge Norah McCann King
Management Inc., et al.                 :
Defendants                              :


                                               UPDATED STATUS REPORT


            Pursuant to the Court’s Order dated 7-21-16, the Receiver is pleased to report that

the Receiver mailed a distribution to Dr. Krivchenia II’s pension/profit sharing account in the amount of

$99,651.08 on July 22, 2016. All cash and assets previously managed and held by Professional

Investment Management Inc. have now been distributed. The Receiver is awaiting the SEC’s approval

of the Plan to authorize the Receiver to distribute monies collected by the SEC as penalties and fines

after which the Receiver will file a Final Report and request an Order terminating the Receivership.

                                                               Respectfully submitted,

                                                               /s/ David A. Kopech

                                                               David A. Kopech (#0012754)
                                                               Kopech & O’Grady LLC
                                                               PO Box 1103
                                                               Worthington, OH 43085
                                                               (614) 306-8345
                                                               Attorney for Court-appointed
                                                               Receiver
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                                   CERTIFICATE OF SERVICE

   The undersigned certifies that a true and accurate copy of the foregoing was filed electronically

   with the Clerk for the United States District Court for the Southern District of Ohio, Eastern

   Division, using the Court's CM/ECF system, which will send notification of such filing to the

   attorneys of record at the addresses they have provided to the Court on this 22nd day of July,

   2016.



                                                   /s/David A. Kopech
                                                   David A. Kopech
